Case 2:O4-cr-20457-SHI\/| Document 32 Filed 05/25/05 Page 1 of 2 Page|D 52

 

 

 

 

IN THE UNITED STATES DlSTRICT COURT F"'ED ii ’ - m
F0R THE WESTERN DISTRI:::JI§B§ENNESSEE 05 Hm 25 gm H: 146
UNrrED sTATEs 01= AMERICA,
Plaintiff,
vs. Case No. 2:04cr20457-11
GREGORY LYNN BROWN ,
Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
lt now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged', and, the Clerk is directed to issue a check on the Registry in the sum of $150_.00_
payable to JUANITA L. LYONS at 2356 HUNTER AVE. MEN[PH]S, TN 381()8,

(Name) (Address)
in full refund of the cash appearance bond posted herein.

ia ama

United States District Judge

 

Approved.
Robert R.D` rOliO Cl of Court

Deka

BY:

 

 

UNITD s"sATE lsTRIC COURT - WEERN DISITRCT OF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CR-20457 Was distributed by faX, mail, or direct printing on
May 27, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

